                                COURT OF APPEALS FOR THE
                           FIRST DISTRICT OF TEXAS AT HOUSTON

                                          ORDER

Appellate case name:        Igor Galperin v. Smith Protective Services, Inc.

Appellate case number:      01-18-00427-CV

Trial court case number:    2017-32333-B

Trial court:                164th District Court of Harris County

       Appellant, Igor Galperin, has filed a notice of appeal of the trial court’s May 15,
2018 “Final Judgment.” See TEX. R. APP. P. 25.1, 26.1. The appellate record was due in
this Court on July 16, 2018. See id. 35.1(a). A clerk’s record was filed on July 25, 2018;
however, a reporter’s record has not been filed.
        On June 7, 2018, the court reporter notified the Clerk of this Court that there is a
reporter’s record but appellant had not requested preparation of a reporter’s record. The
Clerk of this Court then notified appellant that the court reporter responsible for
preparing the reporter’s record had not filed a reporter’s record because appellant had not
requested preparation of a reporter’s record or had not paid, or made arrangements to pay,
the fee for preparation of the record. The Clerk further notified appellant that unless he
provided written evidence that he had paid, or made arrangements to pay, for the
reporter’s record, or provided proof that he is entitled to proceed without payment of
costs, the Court might consider the appeal without a reporter’s record. See id. 37.3(c).
Appellant responded, stating “that there is no Reporter’s Record in this case” and,
therefore, had not requested a reporter’s record.
       Accordingly, the Court will consider and decide those issues or points that do not
require a reporter’s record for a decision. See id. Appellant’s brief is due to be filed no
later than 30 days from the date of this order. See id. 38.6(a).
       It is so ORDERED.

Judge’s signature: /s/ Russell Lloyd
                    Acting individually       Acting for the Court

Date: August 14, 2018
